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                                                          United States Bankruptcy Court
                                                                Central District of Califorma
     In re    Leslie Klein                                                                                         Case No.       2:23-bk-I 0990-SK
                                                                                   Debtor(s)                       Chapter        II

                                                     LIST OF EQUiTY SECURITY HOLDERS
   Following is the list of the Debtor’s equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter Il Case

   Name and last known address or place of                     Security Class Number of Securities                            Kind of Interest
   business of holder

   -NONE-



  DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

           I, Leslie Klein, am the named debtor in this case, declare under penalty of perjury that I have read the foregoing
  List of Equity  Security Holders and that it is true and correct to the best of my information and belief.



  Date                   //         t.
                                               3                          Signature
                                                                                         Leslie Klein

                     Penakyfar making afalse statement of concealing properly: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                     18 U.S.C. § 152 and 3571.




Sheet I of I in List of Equity Security Holders
                 Case 2:23-bk-10990-SK                        Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                    Desc
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      Fill in this information to identify your case:

      Debtor 1              Leslie Klein
                            First Name                       Middle Name           Last Name

      Debtor 2
   (Spouse if, filing)      -list Name                       Mictdte Name          Last Name


      United States Bankruptcy Court for the:          CENTRAL DISTRICT OF CALIFORNIA

   Case number           2:23-bk-I 0990-SK
   (if known)                                                                                                                             Check if this is an
                                                                                                                                          amended filing



  Official Form lO6Sum
 Summary of Your Assets and Liabilities and Certain Statistical Information                                                     12115
 Beas complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
 your original forms, you must fill out a new Summary and check the box at the top of this page.

 I11              Summarize Your Assets

                                                                                                                                      Your assets
                                                                                                                                      Value of what you own

  1.      Schedule A/B: Property (Official Form 106A/B)
          la. Copy line 55, Total real estate, from Schedule A/B                                                                       $           12,250,000.00

          lb. Copy line 62, Total personal property, from Schedule A/B                                                                 $            2,044,000.00
          ic. Copy line 63, Total of all property on Schedule A/B                                                                      $           14,294,000.00
 ITiI’           Summarize Your Liabilities

                                                                                                                                      Your liabilities
                                                                                                                                      Amount you owe

  2.      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1 06D)
          2a. Copy the total you listed in Column A, Amount of c/aim, at the bottom of the last page of Part 1 of Schedule D...       $           31,564,856.56

  3.      Schedule ElF; Creditors Who Have Unsecured Claims (Official Form 1 06E/F)
          3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule ElF                              $                         0.00

          3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule ElF                           $                 97,928.00


                                                                                                           Your total liabilities $             31,662,784.56


I1i              Summarize Your Income and Expenses

 4.      Schedule I; Your Income (Official Form 1061)
         Copy your combined monthly income from line 12 of Schedule /                                                                 $                17,633.00

 5.      Schedule J: Your Expenses (Official Form 1 06J)
         Copy your monthly expenses from line 22c of Schedule J                                                                       $                  9,552.00

ITi              Answer These Questions for Administrative and Statistical Records

 6.      Are you filing for bankruptcy under Chapters 7, 11, or 13?
              No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

         • Yes
 7.      What kind of debt do you have?

                 Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                 household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         •  Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form lO6Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (C) 1996-2023 Best Case, LLC -www.bestcase.com
                                                                                               _____________________________
                                                                                                          _________________
                                                                                                          _____________________
                                                                                                          ________________
                                                                                                           ________________            ______




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   Debtor 1
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                                                                                  Case number (if known)
                 Leslie Klein                                                                                             2:23-bk-10990-SK

   8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
         122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                           $


   9.    Copy the following special categories of claims from Part 4, line 6 of Schedule ElF:

                                                                                                           .Total claim
         From Part 4 on Schedule ElF, copy the following:
         9a. Domestic support obligations (Copy line 6a.)                                                   $
         9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

         9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $
         9d. Student loans. (Copy line 6f.)                                                                 $
         9e. Obligations arising out of a separation agreement or divorce that you did not report as
             priority claims. (Copy line 6g.)                                                               $

        9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$


        9g. Total. Add lines 9a through 9f.
                                                                                                       H




Official Form 1 O6Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
Software Copyright (C) 996-2O23 Sest Case, LLC www bestcase corn
                                             -
                  Case 2:23-bk-10990-SK                                    Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                          Desc
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     Fill in this information to identify your case and this filing:
     Debtor 1                    Leslie Klein
                                 First Name                                Middle Name                      Last Name

     Debtor 2
     (Spouse, if filing)         First Name                                Middle Name                      Last Name


     United States Bankruptcy Court for the:                      CENTRAL DISTRICT OF CALIFORNIA

     Case number            2:23-bk-I 0990-SK                                                                                                                  D    Check if this is an
                                                                                                                                                                    amended filing



 Official Form 106A/B
 Schedule AIB: Property                                                                                                                                            12/15
 In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
 think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information, It more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (it known).
 Answer every question.

 Ifl Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       []No. Go to Part 2.
       U Yes. Where is the property?



     1.1                                                                           What is the property? Check all that apply
            322 N. June Street                                                       •     Single-family home                        Do not deduct secured claims or exemptions. Put
           Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                           Duplex or multi-unit building
                                                                                     O                                               Creditors Who Have Claims Secured by Property.
                                                                                           Condominium or cooperative

                                                                                     O     Manufactured or mobile home
                                                                                                                                     Current value of the       Current value of the
           Los Angeles                        CA        90004-0000                         Land                                      entire property?           portion you own?
           City                               State             ZIP Code             0 Investment property                               $4,900,000.00               $2,450,000.00
                                                                                     0 Timeshare                                     Describe the nature of your ownership interest
                                                                                     0 Other                                         (such as fee simple, tenancy by the entireties, or
                                                                                  Who has an interest in the property? Check one     a life estate), if known.
                                                                                                                                     50% is held in by Debtor and 50%
                                                                                                                                     held by his Erikas irrevocable marital
                                                                                     0 Debtor 1 only                                 deduction trust
           Los Angeles                                                               0 Debtor 2 only
           County                                                                    0 Debtor 1 and Debtor 2 only
                                                                                                                                         Check if this is community property
                                                                                     U     At least one of the debtors and another       (see instructions)
                                                                                  Other information you wish to add about this item, such as local
                                                                                  property identification number:
                                                                                  Debtor’s principal residence; paid in full. The property is held in the
                                                                                  marital deduction trust. The Debtor’s current spouse, Barbara Klein, has a
                                                                                  life estate interest in the residence.




Official Form 106A/B                                                                     Schedule A/B: Property                                                                 page 1
        ________________________________________________                                     ____________________________




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  Debtor 1          Leslie Klein                                                                                           Case number (if known)          2:23-bk-I 0990-SK

         If you own or have more than one, list here:
  1.2                                                                        What is the property? Check all that apply
         315 N. Martel Avenue                                                  • Single-family home                               Do not deduct secured claims or exemptions. Put
         Street address, if available, or other description
                                                                                    Duplex or multi-unit building                 the amount of any secured claims on ScheduleD:
                                                                               D                                                  Creditors Who Have Claims Secured by Property.
                                                                                    Condominium or cooperative


                                                                               LJ   Manufactured or mobile home
                                                                                                                                  Current value of the          Current value of the
         Los Angeles                       CA         90036-0000                    Land                                          entire property?              portion you own?
        City                               State              ZIP Code         D    Investment property                               $2,500,000.00                  $2,500,000.00
                                                                               D    Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                    Other                                        (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one      a life estate), if known.
                                                                               •    Debtor 1 only                                 100%
        Los Angeles                                                            C    Debtor 2 only
        County                                                                 O    Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                               C At least one of the debtors and another              tsee instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             Single family residence; rental property. Debtor collects $5,500/month.




        If you own or have more                     han one list here:
 1.3                                                                        What is the property? Check all that apply
        143 S. Highland Drive                                                       Single-family home
                                                                               U                                                 Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                       the amount of any secured claims on Schedule D:
                                                                                    Duplex or multi-unit building
                                                                               C                                                 Creditors Who Have Claims Secured by Property.
                                                                                    Condominium or cooperative
                                                                               C
                                                                               Q    Manufactured or mobile home
                                                                                                                                 Current value of the          Current value of the
        Los Angeles                       CA         90036-0000                     Land                                         entire property?              portion you own?
        City                              State              ZIP Code          C    Investment property                               $2,200,000.00                  $2,200,000.00
                                                                               C    Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                               C    Other                                        (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one       a life estate), if known.
                                                                             • Debtor 1 Only                                     100%
        Los Angeles                                                           C Debtor 2 only
        County                                                                0 Debtor 1 and Debtor 2 only                                     .    .

                                                                                                                                      Check if this is community property
                                                                              C At least one of the debtors and another               (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:
                                                                            Single family residence; rental property. Debtor collects $4,000 per month
                                                                            in rental income.




Official Form 106A/B                                                           Schedule A/B: Property                                                                          page 2
               Case 2:23-bk-10990-SK                                    Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                              Desc
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  Debtor 1         Leslie Klein                                                                                              Case number (if                2:23-bk-I 0990-SK

         If you own or have more han one list here:
  1.4                                                                       What is the property? Check all that apply
         161 N. Poinsettia Place                                               •    Single-family home                             Do not deduct secured claims or exemptions. Put
         Street address, i available, or other description                          Duplex or multi-unit building                  the amount of any secured claims on Schedule D:
                                                                                                                                   Creditors Who Have Claims Secured by Property.
                                                                                    Condominium or cooperative

                                                                               Q Manufactured or mobile home                       Current value of the          Current value of the
         Los Angeles                      CA         90036-0000                Q Land                                              entire property?              portion you own?
        City                              State              ZIP Code               Investment property                                 $2,000,000.00                 $2,000,000.00
                                                                                   Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                   Other                                           (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one         a life estate), if known.
                                                                             I Debtor 1 Only                                       100%
        Los Angeles                                                                Debtor 2 Only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                              E1   At least one of the debtors and another             (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:
                                                                            Single family residence; rental property. Debtor collects $3,000 per month
                                                                            rental income.


        If you own or have more t han one list here:
  1.5                                                              ‘        What is the property? Check all that apply
        2560-B Whitewater Club Drive                                               Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                         the amount of any secured claims on Schedule D:
                                                                                   Duplex or multi-unit building
                                                                                                                                   Creditors Who Have Claims Secured by Property.
                                                                                   Condominium or cooperative
                                                                              •

                                                                              D Manufactured or mobile home
                                                                                                                                   Current value of the         Current value of the
        Palm Springs                      CA        92262-0000                     Land                                            entire property?             portion you own?
        City                              State              ZIP Code              Investment property                                    $350,000.00                   $350,000.00
                                                                              D    Timeshare
                                                                                                                                   Describe the nature of your Ownership interest
                                                                                   Other                                           (such as fee simple, tenancy by the entireties, or
                                                                           Who has an interest in the property? Check one          a life estate), if known.
                                                                            • Debtor 1 only                                        100%
        Riverside                                                                  Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                   At least one of the debtors and another             (see instructions)

                                                                           Other information you wish to add about this item, such as local
                                                                           property identification number:
                                                                           A condo with 2 bedrooms and 2 bathrooms; vacation home.




Official Form 106A16                                                          Schedule A/B: Property                                                                            page 3
                                                                                                                                _________________




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   Debtor 1          Leslie Klein                                                                                          Case number (if known)       2:23-bk-I 0990-SK
          If you own or have more than one, list here:
   1.6                                                                        What is the property? Check alt that apply
          3752 Ocean Drive                                                       •     Single-family home                        Do not deduct secured clatms or exemptions. Put
          Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                 D     Manufactured or mobile home
                                                                                                                                 Current value of the        Current value of the
          Oxnard                            CA         93035-0000                []    Land                                      entire property?            portion you own?
          City                              State              ZIP Code                Investment property                            $2,400,000.00               $2,400,000.00
                                                                                 D     Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                 D     Other                                     (such as fee simple, tenancy by the entireties, or
                                                                              Who has an interest in the property? Check one     a life estate), if known.
                                                                                 •     Debtor 1 Only                             100%
         Ventura                                                                      Debtor 2 only
          County                                                                 C   Debtor 1 and Debtor 2 only
                                                                                                                                     Check if this is community property
                                                                                 C   At least one of the debtors and another         (see instructions)
                                                                              Other information you wish to add about this item, such as local
                                                                              property identification number:
                                                                              Single family home; vacation home.


         If YOU OWfl or have more than one, list here:
  1.7                                                                         What is the property? Check alt that apply
         Leonardo Plaza Hotel Jerusalem                                         Q     Single-family home                         Do not deduct secured claims or exemptions. Put
         Street address, if availabte, or other description                                                                      the amount of any secured claims on Schedule 0:
                                                                                Q     Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                O     Manufactured or mobile home
                                                                                                                                 Current value of the       Current value of the
         Jerusalem                                                                    Land                                       entire property?           portion you own?
         City                              State              ZIP Code          •     Investment property                               $500,000.00                 $250,000.00
                                                                                0     Timeshare
                                                                                                Unitinahotel                     Describe the nature of your ownership interest
                                                                                B     Other                                      (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one      a life estate), if known.
                                                                                                                                50% by Debtor and 50% by deceased
                                                                                •     Debtor 1 only                             wife’s irrevocable trust
         Israel                                                                 O     Debtor 2 only
         County                                                                 0     Debtor 1 and Debtor 2 Only
                                                                                                                                    Check if this is community property
                                                                                C   At least one of the debtors and another     D (see  instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             Debtor owns a unit in the Leanoardo Plaza Hotel. Vacation home.




Official Form 1O6AIB                                                           Schedule A/B: Property                                                                       page 4
                                       _________________




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        If you own or have more t han one list here:
  1.8                                                                  ‘          What is the property? Check all that apply
        Dan Boutique Hotel Jerusalem                                                  Q     Single-family home                        Do not deduct secured claims or exemptions. Put
        Street address, if availabte, or other description                                                                            the amount of any secured claims on Schedule 0:
                                                                                            Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                            Condominium or cooperative

                                                                                           Manufactured or mobile home
                                                                                                                                      Current value of the        Current value of the
        Jerusalem                                                                     Q Land                                          entire property?            portion you own?
        City                              State              ZIP Code                 U investment property                                  $200,000.00                 $1 00,000.00
                                                                                      U Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      • Other    Unit in a hotel                      (such as fee simple, tenancy by the entireties, or
                                                                                  Who has an interest in the property? Check one      a life estate), if known.
                                                                                                                                      50% by Debtor and 50% by deceased
                                                                                           Debtor 1 only                              spouse’s irrevocable trust
        Israel                                                                       U     Debtor 2 only
        County                                                                       U     Debtor 1 and Debtor 2 only
                                                                                     U   At least one of the debtors and another
                                                                                                                                      o  Check if this is community property
                                                                                                                                         (see instructions)
                                                                                  Other information you wish to add about this item, such as local
                                                                                  property identification number:
                                                                                  Debtor owns a unit in the Leanoardo Plaza Hotel. Vacation home.



 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here                                                                                                    $12,250,000.00


IflI’ Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives, If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   U    No
   • Yes


  3.1    Make:        Lexus                                                Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                                      the amount of any secured claims on Schedule D:
         Model:       LS500                                                 • Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
         Year:        2021                                                 U Debtor 2 only                                            Current value of the       Current value of the
         Approximate mileage:                                n!a           U Debtor 1 and Debtor 2 only                               entire property?           portion you own?
         Other information:                                                U At least one of the debtors and another
         Leased vehicle. Monthly
        payment is $1,319.00.                                              U Check if this is community property                                    $0.00                        $0.00
                                                                               lsee instructions)



  3.2    Make:        Lexus                                                Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                                      the amount of any secured claims on Schedule D:
         Model:       LS                                                   • Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
        Year.         2021                                                 U Debtor 2 only                                            Current value of the       Current value of the
        Approximate mileage:                                 n/a           U Debtor 1 and Debtor 2 only                               entire property?           portion you own?
         Other information.                                                U At least one of the debtors and another
        Leased vehicle. Debtor’s
        spouses drives this vehicle.                               I       U Check if this is community property                                    $0.00                        $0.00
        Monthly payment is $500.                                               (see instrucilons)




Official Form 1 06A/B                                                                Schedule A/B: Property                                                                      page 5
                                                                 _______     ___________________________

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     Debtor 1       Leslie Klein                                                                        Case number (if known)   2:23-bk-I 0990-SK

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

         U No
         D Yes



     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
                                                                                                                                                    $0.00
       pages you have attached for Part 2. Write that number here

     .          Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                               Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
         ONo
         U Yes. Describe

                                    Debtor’s residence: Debtor’s residence: Couches, coffee tables,
                                    dining room table with chairs, mattresses with bedframes, wall
                                    mirrors, desk with chairs, lamps, rugs, dressers, kitchen table,
                                    patio furniture, cabinets, refrigerators, and other household
                                   Lgppds and furnishings                                                                                          $8,000.00



                                    2560-B Whitewater Club Drive, Palm Spring vacation home: living
                                    room sofa, table, chairs, dining room table and chairs, TV, phone,
                                    kitchen appliances, china, beds and side tables, mirrors, paintings,
                                    and miscellaneous household goods and furnishings.                                                             $5,000.00


                                    3752 Ocean Drive, Oxnard CA vacation home: living room sofa,
                                    table, chairs, dining room table and chairs, TV, phone, kitchen
                                    appliances, china, beds and side tables, mirrors, paintings, and
                                    miscellaneous household goods and furnishings.                                                                 $5,000.00


7        Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                     including cell phones, cameras, media players, games
         D No
         U Yes. Describe

                                    TVs, phones, computers                                                                                        $3,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
   No
         U Yes. Describe

                                    Books and art objects                                                                                         $4,000.00


9.    Equipment for sports and hobbies
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                     musical instruments
         No
         • Yes. Describe


Official Form 1O6AIB                                             Schedule A/B: Property                                                                page 6
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                              I Sports and Hobyy equipment                                                       I                            $2,000.00


 10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    • No
       Yes. Describe

 11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    JNo
    • Yes. Describe

                               Debtor’s residence: Clothes and shoes                                                                          $2,000.00


 12. Jewelry
      Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    U Yes. Describe

                               Debtor’s residence: Furs, diamond ring, gold necklace, diamond
                               earrings, gold rings and costume jewelry                                                                     $20,000.00


 13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    BN0
    D Yes. Describe

14. Any other personal and household items you did not already list, including any health aids you did not list
    U No
    D Yes. Give specific information

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here                                                                                                   49,000.00


Ifli Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                    Current value of the
                                                                                                                                portion you own?
                                                                                                                                Do not deduct secured
                                                                                                                                claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
   U No
   D Yes
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
   D No
   U Yes                                                          Institution name:

                                       Checking account
                               17.1.   ending in 9401            Bank of America                                                             $4,000.00




Official Form 1O6AIB                                        Schedule A/B: Property                                                                page 7
             Case 2:23-bk-10990-SK                   Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                    Desc
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  Debtor 1       Leslie Klein                                                                          Case number (if known)   2:23-bk-I 0990-SK

 18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    I No
       Yes..................           Institution or issuer name:

 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
    I Yes. Give specific information about them
                                   Name of entity:                                                      % of ownership:

                                   Debtor has a 100% ownership interest in Bay
                                   Area Development, Co. Bay Area Development,
                                   Co. filed a chapter 11 bankruptcy petition on
                                   9/1212022, Case No.: 2:22-bk-15031-SK. On
                                   December 6, 2022, Bay Area entered into a
                                   stipulation with its secured creditor Scott Capital
                                   Management Fund I, LLC and OUST to dismiss
                                   the case. The order dismissing the case with a
                                   180 day bar (due to pending RFS motion) was
                                   enterd on 12/6/2022. The real property owned by
                                   Bay Area Development, Co. went into
                                   foreclosure. The company currently does not
                                   own any assets.                                                          100%          %                         $0.00


                                   Debtor has a membership interest in Life Capital
                                   Group, LLC, which is an investment company.
                                   The LLC buys insurance policies on other
                                   peoples lives and upon passing, the LLC                                   5%
                                   collects the funds and makes a distribution to its                   membershi
                                   members.                                                              p interest       %                  Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
     Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
     Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    • No
    D Yes. Give specific information about them
                                   Issuer name:

21. Retirement or pension accounts
     Examp/es: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    I No
       Yes. List each account separately.
                               Type of account:                      Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    • No
      Yes                                                            Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
   • No
     Yes                 Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. § 530(b)(1), 529A(b), and 529(b)(1).
   • No
     Yes                Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No

Official Form 1 06A/B                                        Schedule A/B: Property                                                                 page 8
             Case 2:23-bk-10990-SK                 Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                     Desc
                                                   Main Document    Page 12 of 57 number (if known)
  Debtor 1     Leslie Klein                                                                         Case                     2:23-bk-I 0990-SK

     • Yes. Give specific information about them...

                                       Klein Living Trust dated April 8, 1990. The Settlors of the Trust are
                                       Leslie Klein and Erika Noemi Klein, husband and wife. Erika Klein
                                       passed away several years ago, and pursuant to the trust
                                       provision,Erika Klein’s interest in the assets is now in an
                                       irrevocable trust (“Marital Deduction Trust”). The assets of the
                                       trust are listed on Schedule AIB, item #1 for each property that is
                                       part of the Trust.                                                                                          $0.00


 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    I No
    D Yes. Give specific information about them...

 27. Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    I No
       Yes. Give specific information about them...

 Money or property owed to you?                                                                                                  Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

 28. Tax refunds owed to you
     • No
    D Yes. Give specific information about them, including whether you already filed the returns and the tax years


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   • No
    D Yes. Give specific information

30. Other amounts someone owes you
     Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
               benefits: unpaid loans you made to someone else
   llNo
   • Yes. Give specific information..

                                             Isaac Kirzner. Debtor entered into an agreement with Isaac
                                             Kirzner whereby he paid the insurance premiums for Mr.
                                             Kirzner, and upon Mr. Kirzner’s passing, the Debtor would
                                             receive $1 Million.                                                                        $1,000,000.00


                                            Judith Bittman. Debtor entered into an agreement with
                                            Judith Bittman whereby he paid the insurance premiums for
                                            Ms. Bittmanm and upon Ms. Bittman’s passing, the Debtor
                                            would receive $1 Million.                                                                   $1,000,000.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   I No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                              Beneficiary:                           Surrender or refund
                                                                                                                                 value:




Official Form 1O6AIB                                        Schedule AJB: Property                                                                page 9
                                                                                                                                   _______________________
                                                                                                                                    _____________________




              Case 2:23-bk-10990-SK                    Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                        Desc
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 Debtor 1        Leslie Klein                                                                             Case number (if known)   2:23-bk-I 0990-SK

32. Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
        someone has died.
       • No
         Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       •No
       D Yes. Describe each claim
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       •No
       D Yes. Describe each claim
35. Any financial assets you did not already list
       I No
         Yes. Give specific information..


 36.    Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                             $2004000.0j
        for Part 4. Write that number here


            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   • No. Go to Part 6.
   D Yes. Go to line 38.


ITl Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
    If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
        • No. Go to Part 7.

        U Yes. Go to line 47


ITê             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
   INo
   U Yes. Give specific information

 54.    Add the dollar value of all of your entries from Part 7. Write that number here                                                                $0.00




Official Form 106A/B                                             Schedule AIB: Property                                                                     page 10
                                                                           _________________
                                                                           _________________
                                                                           ________________




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  Debtor 1      Leslie Klein                                                                    Case number (if known)   2:23-bk-I 0990-SK
 ITL          List the Totals of Each Part of this Form

  55.   Part 1: Total real estate, line 2                                                                                        $1 2.250.000.00
  56.   Part 2: Total vehicles, line 5                                               $0.00
  57.   Part 3: Total personal and household items, line 15                     $49,000.00
  58.   Part 4: Total financial assets, line 36                              $2,004,000.00
  59.   Part 5: Total business-related property, line 45                             $0.00
  60.   Part 6: Total farm- and fishing-related property, line 52                    $0.00
  61:   Part 7: Total other property not listed, line 54               +             $0.00

  62. Total personal property. Add lines 56 through 61...                    $2,053,000.00     Copy personal property total        $2,053,000.00

  63.   Total of all property on Schedule A/B. Add line 55 + line 62                                                          $14,303,000.00




Official Form 1 06A/B                                       Schedule A/B: Property                                                        page 11
               Case 2:23-bk-10990-SK                      Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                      Desc
                                                          Main Document    Page 15 of 57
  Fill in this information to identify your case:
  Debtor 1                 Leslie Klein
                           First Name                     Middle Name                  Last Name

  Debtor 2
  ISpouse if, tiling)      First Name                    Middle Name                   Last Name


  United States Bankruptcy Court for the:         CENTRAL DISTRICT OF CALIFORNIA

  Case number           2:23-bk-I 0990-SK
  (if known)                                                                                                                        Q Check if this is an
                                                                                                                                        amended filing


 Official Form 106C
 Schedule C: The Property You Claim as Exempt                                                                                                               4/22

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
 the property you listed on Schedule NB: Property (Official Form 1 06A/B) as your source, list the property that you claim as exempt. If more space is
 needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
 case number (if known).
For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.
I1 Identify the Property You Claim as Exempt
 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       • You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions.        11 U.S.C. § 522(b)(2)

 2.    For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
       Brief description of the property and line on        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B
      322 N. June Street Los Angeles, CA                      $2,450,000.00        •                       $678,391.00      C.C.P. § 704.730
      90004 Los Angeles County
      Debtors principal residence; paid in                                         D     100% of fair market value, up to
      full. The property is held in the                                                  any applicable statutory limit
      marital deduction trust. The Debtor’s
      current spouse, Barbara Klein, has a
      life estate interest in the residence.
      Line from Schedule NB: 1.1

      Debtor’s residence: Debtor’s                                  $8,000.00      I                          $8,000.00     C.C.P. § 704.020
      residence: Couches, coffee tables,
      dining room table with chairs,                                               0    100% of fair market value, up to
      mattresses with bedframes, wall                                                   any applicable statutory limit
      mirrors, desk with chairs, lamps,
      rugs, dressers, kitchen table, patio
      furniture, cabinets, refrigerators, and
      other household g
      Line from Schedule NB: 6.1

      TVs, phones, computers                                       $3,000.00       I                         $3,000.00      C.C.P. § 704.020
      Line from Schedule NB: 7.1
                                                                                   0    100% of fair market value, up to
                                                                                        any applicable statutory limit




Official Form 106C                                 Schedule C: The Property You Claim as Exempt                                                       page 1 of 2
             Case 2:23-bk-10990-SK                    Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                       Desc
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  Debtor 1     Leslie Klein                                                                      Case number (if known)     2:23-bk-10990-SK
      Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
      Schedule A/B that lists this property            portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B
      Books and art objects                                   $4,000.00                                       $0.00       C.C.P. § 704.040
      Line from Schedule A/B: 8.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

      Sports and Hobyy equipment                              $2,000.00       •                          $2,000.00        C.C.P. § 704.020
      Line from Schedule A/B: 9.1
                                                                              0    100% of fair market value, up to
                                                                                   any applicable statutory limit

      Debtor’s residence: Clothes and                         $2,000.00       •                          $2,000.00        C.C.P. § 704.020
      shoes
      Line from Schedule A/B: 11.1                                                 100% of fair market value, up to
                                                                                   any applicable statutory limit

      Debtor’s residence: Furs, diamond                      $20,000.00       I                          $9,525.00        C.C.P. § 704.040
      ring, gold necklace, diamond
      earrings, gold rings and costume                                        E    100% of fair market value, upto
      jewelry                                                                      any applicable statutory limit
      Line from Schedule A/B: 1 2.1


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ONo
      •      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

             •     No

             0     Yes




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                      page 2 of 2
              Case 2:23-bk-10990-SK                          Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                             Desc
                                                             Main Document    Page 17 of 57
 Fill in this information to identify your case:
 Debtor 1                   Leslie Klein
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           2:23-bk-I 0990-SK
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
       C No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       B Yes. Fill in all of the information below.
I1T List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim, If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         CCC Mortgage Corp.                        Describe the property that secures the claim:                $19,372.00           $2,400,000.00                      $0.00
         Credtors Name                             3752 Ocean Drive Oxnard, CA 93035
                                                   Ventura County
         Attn: Bankruptcy                          Single family home; vacation home.
                                                   As of the date you file, the claim is: Check all that
         10561 Telegraph Rd                        apply
         Glen Allen, VA 23059                      C Contingent
         Number, Street, City, State & Zip Code    C Unliquidated
                                                   C Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 • Debtor 1 only                                   C An agreement you made (such as mortgage or secured
                                                       car loan)
 C Debtor 2 only
 C Debtor 1 and Debtor 2 only                      C Statutory lien (such as tax lien, mechanic’s lien)
 O At least one of the debtors and another         C Judgment lien from a lawsuit
 C Check if this claim relates to a                • Other (including a right to offset)    Secured Line of Credit
      community debt

                                 Opened
                                 05/05 Last
                                 Active
 Date debt was incurred          1109123                   Last 4 digits of account number         1428




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 8
                                                 ________________________________

             Case 2:23-bk-10990-SK                            Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                      Desc
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  Debtor 1    Leslie Klein                                                                                   Case number (dknown)   2:23-bk-I 0990-SK
              First Name                  Middle Name                       Last Name


        Chase Mortgage                             Describe the property that secures the claim:                   $138,719.00       $350,000.00            $0.00
        Creditors Name                             2560-B Whitewater Club Drive Palm
                                                   Springs, CA 92262 Riverside
                                                   County
        BK Department                              A condo with 2 bedrooms and 2
        Mail Code LA4 5555 700                     bathrooms; vacation home.
                                                   As of the date you file, the claim is: Check all that
        Kansas Ln                                  apply.
        Monroe, LA 71203                                Contingent
       Number, Street, City, State & Zip Code      D Unhiquidated
                                                     Disputed
 Who owes the debt? Check one                      Nature of lien. Check all that apply.
  • Debtor 1 only                                       An agreement you made (such as mortgage or secured
                                                         car loan)
 D Debtor 2 Only
     Debtor 1 and Debtor 2 only                    D Statutory lien (such as tax lien, mechanic’s lien)
     At least one of the debtors and another            Judgment lien from a lawsuit
 i:j Check if this claim relates to a              • Other (including a right to offset)      Deed of Trust
      community debt

                               Opened
                               07/05 Last
                               Active
 Date debt was incurred        8/23/22                      Last 4 digits of account number          2700


                                                                                                                                                    $24,334,038.
       Ericka and Joseph Vago                      Describe the property that secures the claim:               $24,334,038.99              $0.00              99
       Creditor’s Name
                                                  Assets of the Debtor
       do Brian Procel
       Procel Law
       401 Wilshire Blvd., 12th                   As of the date you file, the claim is: Check all that
                                                  apply
       Floor                                       D Contingent
       Santa Monica, CA 90401
       Number. Street, City. State & Zip Code           Unliquidated
                                                  • Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 • Debtor 1 Only                                        An agreement you made (Such as mortgage or Secured
                                                         car loan)
    Debtor 2 only
 D Debtor 1 and Debtor 2 Only                           Statutory lien (Such as tax lien, mechanic’s lien)
 LJ At least one of the debtors and another       • Judgment lien from a lawsuit
    Check if this claim relates to a              • Other (including a right to offset)      Notice of Judgment Lien
    community debt

 Date debt was incurred        July 2020                    Last 4 digits of account number         5050




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 8
            Case 2:23-bk-10990-SK                             Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                         Desc
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 Debtor 1     Leslie Klein                                                                                   Case number (if known)   2:23-bk-I 0990-SK
             First Name                   Middle Name                      Last Name


                                                                                                                                      $2,400,000.00          $0.00
[] Fay Servicing LLC                               Describe the property that secures the claim:                   $712,265.00
       Creditor’s Name                             3752 Ocean Drive Oxnard, CA 93035
                                                   Ventura County
       Attn: Bankruptcy Dept
                                                   Single family home; vacation home.
                                                   As of the date you file, the claim is: Check ati that
       Po Box 809441                               apply.
       Chicago, IL 60680                                Contingent
       Number, Street, City, State & Zip Code           Unliquidated
                                                   D Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 • Debtor 1 only                                   D An agreement you made (Such as mortgage or secured
                                                        car loan)
 D Debtor 2 only
    Debtor 1 and Debtor 2 Only                          Statutory lien (such as tax lien, mechanic’s lien)
    At least one of the debtors and another        0 Judgment lien from a lawsuit
 D Check if this claim relates to a                • Other (including a right to offset)     1st Deed of Trust
     community debt

                               Opened
                               10113/04
                               Last Active
 Date debt was incurred        08/20                        Last 4 digits of account number         9505


       Fay Servicing LLC                           Describe the property that secures the claim:                   $327,886.00        $2,400,000.00          $0.00
       Creddor’s Name                              3752 Ocean Drive Oxnard, CA 93035
                                                   Ventura County
       Attn: Bankruptcy Dept                       Single family home; vacation home.
                                                   As of the date you file, the claim is: Check alt that
       Po Box 809441                               appty.
       Chicago, IL 60680                           0 Contingent
       Number, Street, City, State & Zip Code      0 Unliquidated
                                                   O Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 • Debtor 1 only                                   0 An agreement you made (such as mortgage or secured
                                                        car loan)
 O Debtor 2 only
 0 Debtor 1 and Debtor 2 only                      0 Statutory lien (such as tax lien, mechanic’s lien)
 0 At least one of the debtors and another         0 Judgment lien from a lawsuit
 0 Check if this claim relates to a                • Other (including a right to offset)     2nd Deed of Trust
     community debt

                               Opened
                               11I04 Last
                               Active
 Date debt was incurred        8/09/22                      Last 4 digits of account number         9492




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 8
            Case 2:23-bk-10990-SK                              Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                       Desc
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 Debtor 1     Leslie Klein                                                                                   Case number (if known)   2:23-bk-I 0990-SK
              First Name                    Middle Name                     Last Name


       Fiore Racobs & Powers                         Describe the property that secures the claim:                  $49,436.57         $350,000.00            $0.00
       Creditor’s Name                               2560-B Whitewater Club Drive Palm
       do Palm Springs                               Springs, CA 92262 Riverside
       Country Club HOA                              County
       6820 Indiana Ave., Ste                        A condo with 2 bedrooms and 2
       140                                           bathrooms; vacation home.
       6820 Indiana Ave., Ste                        As of the date you file, the claim is: Check all that
                                                     apply
       140
       Riverside, CA 92506                           D Contingent
       Number, Street, City, State & Zip Code        D Unliquidated
                                                     D Disputed
 Who owes the debt? Check one.                       Nature of lien. Check all that apply.
    Debtor 1 only                                         An agreement you made (such as mortgage or secured
    Debtor 2 only                                          car loan)
 D Debtor 1 and Debtor 2 only                        D Statutory lien (such as tax lien, mechanic’s lien)
 S At least one of the debtors and another           C Judgment lien from a lawsuit
    Check if this claim relates to a                 • Other (including a right to offset)    HOA Assessments
    community debt

 Date debt was incurred        2020 2023-
                                                             Last 4 digits of account number         4460

       Gestetner Charitable
       Remainder Trus                                Describe the property that secures the claim:               $2,000,000.00           Unknown          Unknown
       Creditor’s Name                              Debtor has a membership interest in
                                                    Life Capital Group, LLC, which is an
                                                    investment company. The LLC buys
                                                    insurance policies on other peopl&s
                                                    lives and upon passing, the LLC
                                                    collects the funds and makes a
                                                    distribution to its members.
       do Andor Gestetner                           5% m
                                                    As of the date you file, the claim is: Check all that
       1425 55th Street                             apply.
       Brooklyn, NY 11219                            0 Contingent
       Number, Street, City, State & Zip Code       C Unliquidated
                                                    C Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
 • Debtor 1 only                                    0 An agreement you made (such as mortgage or secured
                                                          car loan)
 C Debtor 2 only
 C Debtor 1 and Debtor 2 only                       C Statutory lien (such as tax lien, mechanic’s lien)
 C At least one of the debtors and another          C Judgment lien from a lawsuit
 O Check if this claim relates to a                 • Other (including a right to offset)     UCC Financing
     community debt

 Date debt was incurred        511412021                     Last 4 digits of account number        3629




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 4 of 8
            Case 2:23-bk-10990-SK                              Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                        Desc
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 Debtor 1     Leslie Klein                                                                                   Case number (it known)   2:23-bk-I 0990-SK
              First Name                    Middle Name                     Last Name


        Los Angeles County Tax
 2.8                                                 Describe the property that secures the claim:                   $1 5,000.00      $4,900,000.00          $0.00
        Collector
        Creditor’s Name                              322 N. June Street Los Angeles, CA
                                                     90004 Los Angeles County
                                                     Debtor’s principal residence; paid in
                                                     full. The property is held in the
                                                     marital deduction trust. The
                                                     Debtor’s current spouse, Barbara
        Bankruptcy Unit                              Klein, has a life estate interest in the
        P0 Box 54110                                 res
                                                     As of the date you file, the claim is: Check all that
        Los Angeles, CA
        90054-0027                                   C Contingent
        Number. Street. City. State & Zip Code       C Unhiquidated
                                                     C Disputed
Who owes the debt? Check one.                        Nature of lien. Check all that apply.
 • Debtor 1 only                                     C An agreement you made (such as mortgage or secured
                                                          car loan)
 C Debtor 2 only
 C Debtor 1 and Debtor 2 only                        C Statutory lien (such as tax lien, mechanic’s lien)
 C At least one of the debtors and another           C Judgment lien from a lawsuit
 C Check if this claim relates to a                  • Other (including a right to offset)    Property Taxes
       community debt

Date debt was incurred          2022 2023
                                        -                    Last 4 digits of account number         3008


        Mrc/united Wholesale M                       Describe the property that secures the claim:                 $954,432.00        $2,000,000.00          $0.00
        Creditors Name                               161 N. Poinsettia Place Los
                                                     Angeles, CA 90036 Los Angeles
                                                     County
                                                     Single family residence; rental
                                                     property. Debtor collects $3,000 per
                                                     month rental income.
        Attn: Bankruptcy                             Asof the date you file, the claim is: Check all that
        P. 0. Box 619098
        Dallas, TX 75261                             C contingent
        Number, Street, City, State & Zip Code       C Unliquidated
                                                     C Disputed
Who owes the debt? Check one.                        Nature of lien. Check all that apply.
 • Debtor 1 only                                     C An agreement you made (such as mortgage or secured
                                                          car loan)
C Debtor 2 only
C Debtor 1 and Debtor 2 only                         C Statutory lien (such as tax lien, mechanic’s lien)
C At least one of the debtors and another            C Judgment lien from a lawsuit
C Check if this claim relates to a                   U Other (including a right to offset) Deed of Trust
       community debt

                                Opened
                                05/05 Last
                                Active
Date debt was incurred          11/17122                     Last 4 digits of account number         2120




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 5 of 8
            Case 2:23-bk-10990-SK                              Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                       Desc
                                                               Main Document    Page 22 of 57
 Debtor 1      Leslie Klein                                                                                 Case number (if known)   2:23-bk-I 0990-SK
               First Name                  Middle Name                     Last Name




[pJ_Selene Finance                                  Describe the property that secures the claim:               $1,755,385.00        $2,500,000.00           $0.00
         Creditors Name                             315 N. Martel Avenue Los Angeles,
                                                    CA 90036 Los Angeles County
                                                    Single family residence; rental
                                                    property. Debtor collects
         Attn: Bankruptcy                           $5,500/month.
                                                    As of the date you file, the claim is: Check all that
         Po Box 8619                                apply.
         Philadelphia, PA 19101                     0 contingent
        Number, Street, City, State & Zip Code      0 Unliquidated
                                                    0 Dtsputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
 U Debtor 1 only                                    0 An agreement you made (such as mortgage or secured
                                                         car loan)
 0 Debtor 2 only
 0 Debtor 1 and Debtor 2 Only                       0 Statutory lien (such as tax lien, mechanic’s lien)
 0 At least one of the debtors and another          0 Judgment lien from a lawsuit
 0 Check if this claim relates to a                 I Other (including a right to offset) Deed of Trust
       community debt

                                Opened
                                08/18 Last
                                Active
 Date debt was incurred         6/22/21                      Last 4 digits of account number        8372


 2.1    Shellpoint Mortgage
 1      Servicing                                   Describe the property that secures the claim:               $1,213,516.00        $2,200,000.00          $0.00
        Creditors Name                              143 S. Highland Drive Los Angeles,
                                                    CA 90036 Los Angeles County
                                                    Single family residence; rental
                                                    property. Debtor collects $4,000 per
        Attn: Bankruptcy                            month in rental income.
                                                   As of the date you file, the claim is: Check all that
        Po Box 10826                               apply.
        Greenville, SC 29603                        O contingent
        Number, Street, City, State & Zip Code      0 Unliquidated
                                                    0 Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
 I Debtor 1 only                                    O An agreement you made (such as mortgage or secured
                                                         car loan)
 0 Debtor 2 only
 0 Debtor 1 and Debtor 2 only                       0 Statutory lien (such as tax lien, mechanic’s lien)
 0 At least one of the debtors and another          0 Judgment lien from a lawsuit
 0 Check if this claim relates to a                 • Other (including a right to offset)  Deed of Trust
       community debt

                                Opened
                                04/19 Last
                                Active
Date debt was incurred          12127/22                     Last 4 digits of account number       4516




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 6 of 8
              Case 2:23-bk-10990-SK                              Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                      Desc
                                                                 Main Document    Page 23 of 57
 Debtor 1 Leslie Klein                                                                                        Case number (if known)   2:23-bk-I 0990-SK
                First Name                   Middle Name                     Last Name


          Toyota Financial
          Services                                    Describe the property that secures the claim:                   $34,318.00              $0.00        $34,318.00
          Creditors Name                              2021 Lexus LS500 n/a miles
                                                      Leased vehicle. Monthly payment is
          Attn: Bankruptcy                            $1,319.00.
                                                      As of the date you file, the claim is: Check alt that
          Po Box 259001                               apply
          Piano, TX 75025                             C contingent
          Number, Street, City, State & Zip Code      C Unhiquidated
                                                      C Disputed
 Who owes the debt? Check one.                        Nature of lien. Check all that apply.
 • Debtor 1 only                                      C An agreement you made (Such as mortgage or secured
                                                           car loan)
 C Debtor 2 only
 C Debtor 1 and Debtor 2 only                         C Statutory lien (such as tax lien, mechanic’s lien)
 C At least one of the debtors and another            C Judgment lien from a lawsuit
 C Check if this claim relates to a                   • Other (including a right to Offset)    Auto Lease
       community debt

                                  Opened
                                  05/21 Last
                                  Active
 Date debt was incurred           3I1 8122                     Last 4 digits of account number        X788


 2.1     Toyota Financial
 3       Services                                     Describe the property that secures the claim:                  $10,488.00               $0.00        $10,488.00
         Creditor’s Name                              2021 Lexus LS n/a miles
                                                      Leased vehicle. Debtor’s spouses
                                                      drives this vehicle. Monthly
         Attn: Bankruptcy                             payment is $500.
                                                     As of the date you file, the claim is: Check alt that
         Po Box 259001                                appty.
         Piano, TX 75025                              C Contingent
         Number. Street, City, State & Zip Code       C Unliquidated
                                                      C Disputed
 Who owes the debt? Check one.                        Nature of lien. Check all that apply,

       Debtor 1 only                                  C An agreement you made (such as mortgage or secured
                                                           car loan)
 C Debtor 2 Only
 C Debtor 1 and Debtor 2 only                         C Statutory lien (such as tax lien, mechanic’s lien)
 C At least one of the debtors and another            C Judgment lien from a lawsuit
 C Check if this claim relates to a                   • Other (including a right to offset)    Auto Lease
       community debt

                                 Opened
                                 06/21 Last
                                 Active
Date debt was incurred           6101/22                       Last 4 digits of account number        Y582



     Add the dollar value of your entries in Column A on this page. Write that number here:                             $31,564,856.56 I
     If this is the last page of your form, add the dollar value totals from all pages.
     Write that number here:
                                                                                                                        $31,564,856.56

IW List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 7 of 8
          Case 2:23-bk-10990-SK                          Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                   Desc
                                                         Main Document    Page 24 of 57
  Debtor 1   Leslie Klein                                                            Case number (known)              2:23-bk-I 0990-SK
             First Name             Middle Name                Last Name



          Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.7
         Andor Gestetner
         do Law Offices of Jacob Unger                                         Last 4 digits of account number_
         5404 Whitsett Ave Ste. 182
         Valley Village, CA 91607

         Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?    2.3
          Ericka and Joseph Vago
          124 N. Highland Ave                                                  Last 4 digits of account number_
         Sherman Oaks, CA 91423




Official Form 106D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 8 of 8
               Case 2:23-bk-10990-SK                        Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                                       Desc
                                                            Main Document    Page 25 of 57
 Fill in this information to identify your case:
 Debtor I                   Leslie Klein
                            First Name                      Middle Name                          Last Name
 Debtor 2
 (Spouse it, titing)        First Name                      Middle Name                          Last Name

 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           2:23-bk-I 0990-SK
 (it known)                                                                                                                                          Q Check if this is an
                                                                                                                                                          amended filing


Official Form 1O6EIF
Schedule ElF: Creditors Who Have Unsecured Claims                                                                                                                     12115
Be as complete and accurate as possible. Use Part I for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule NB: Property (Official Form IOSNB) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
                 List All of Your PRIORITY Unsecured Claims
 I.   Do any creditors have priority unsecured claims against you?
      • No Go to Part 2

      D Yes.

lTT’ List All of Your NONPRIORITY Unsecured Claims
 3.   Do any creditors have nonpriority unsecured claims against you?

           No You have nothing to report in this part. Submit this form to the court with your other schedules.

      I Yes.
 4.   List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                              Total claim

              Bank of America                                        Last 4 digits of account number         8296                                                        $7,450.00
              Nonpriority Creditor’s Name
              Attn: Bankruptcy                                                                               Opened 09116 Last Active
              4909 Savarese Circle                                   When was the debt incurred?             02/23
              Tampa, FL 33634
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              • Debtor 1 only                                        C Contingent
              D Debtor 2 only                                        C Unliquidated
                 Debtor 1 and Debtor 2 only                          C Disputed
                 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              C Check if this claim is for a community               C Student loans
              debt                                                   C Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims
              •No                                                    C Debts to pension or profit-sharing plans, and other similar debts
              C Yes                                                  • Other. Specify Credit Card




Official Form 106 ElF                                  Schedule ElF: Creditors Who Have Unsecured Claims                                                                    Page I of 5
                                                                                                               24271
            Case 2:23-bk-10990-SK                      Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                         Desc
                                                       Main Document    Page 26 of 57
Debtor 1     Leslie Klein                                                                        Case number (if known)       _2:23-bk-1 0990-SK

           Bank of America                                   Last 4 digits of account number       6416                                            $1,566.00
           Nonpriority Creditors Name
          Attn: Bankruptcy                                                                         Opened 04/89 Last Active
           4909 Savarese Circle                              When was the debt incurred?           02/23
           Tampa, FL 33634
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           I Debtor 1 only                                   C Contingent
           C Debtor 2 only                                   C Unhiquidated
           C Debtor 1 and Debtor 2 only                      C Disputed
           C At least one of the debtors and another         Type of NONPRIORITY unsecured claim:
                                                             C Student loans
          C Check if this claim is for a community
          debt                                               C Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

           INo                                               C Debts to pension or profit-sharing plans, and other similar debts
           C Yes                                             • Other. Specify Credit Card


           Barclays Bank Delaware                            Last 4 digits of account number       0647                                            $8,896.00
           Nonpriority Creditors Name
          Attn: Bankruptcy                                                                         Opened 05/09 Last Active
          P0 Box 8801                                        When was the debt incurred?           1/11/23
          Wilmington, DE 19899
           Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           I Debtor 1 only                                   C Contingent
           C Debtor 2 only                                   C Unliquidated
           C Debtor 1 and Debtor 2 only                      C Disputed
                                                             Type of NONPRIORITY unsecured claim:
           C At least one of the debtors and another
           C Check if this claim is for a community          C Student loans
           debt                                              C Obligations arising Out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                   report as priority claims

           I No                                              C Debts to pension or profit-sharing plans, and other similar debts
           C Yes                                             • Other. Specify      Credit Card


           California Bank & Trust                           Last 4 digits of account number       9505                                            $1,695.00
           Non priority Creditors Name
                                                                                                   Opened 02/83 Last Active
           Po Box 711510                                     When was the debt incurred?           02/23
           Santee, CA 92072
           Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
           • Debtor 1 only                                   C Contingent
           C Debtor 2 only                                   C Unliquidated
           C Debtor 1 and Debtor 2 only                      C Disputed
           C At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

           C Check if this claim is fora community           C Student loans
          debt                                               C Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

           • No                                              C Debts to pension or profit-sharing plans, and other similar debts
           C Yes                                             • Other. specify      Credit Card




                                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 2 of 5
Official Form 106 ElF
            Case 2:23-bk-10990-SK                       Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                         Desc
                                                        Main Document    Page 27 of 57
 Debtor 1     Leslie Klein                                                                        Case number (if known)        2:23-bk-I 0990-SK

            Chase Card Services                               Last 4 digits of account number       4280                                            $22,278.00
            Nonpriority Creditor’s Name
          Attn: Bankruptcy                                                                          Opened 06118 Last Active
          P.O. 15298                                          When was the debt incurred?           5/07121
          Wilmington, DE 19850
            Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
            • Debtor 1 Only                                   0 Contingent
               Debtor 2 only                                  0 Unhiquidated
            D Debtor 1 and Debtor 2 Only                      0 Disputed
            O At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

          0 Check if this claim is for a community            0 Student loans
          debt                                                0 Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                     report as priority claims
            • No                                              0 Debts to pension or profit-sharing plans, and other similar debts
            0 Yes                                             I Other. Specify Credit Card


          Chase Card Services                                 Last 4 digits of account number       1527                                            $22,095.00
          Nonpriority Creditors Name
          Attn: Bankruptcy                                                                          Opened 08/18 Last Active
          P.O. 15298                                          When was the debt incurred?           03121
          Wilmington, DE 19850
          Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
            • Debtor 1 only                                   0 Contingent
          0 Debtor 2 only                                     0 Untiquidated
          0 Debtor 1 and Debtor 2 Only                        0 Disputed
          0 At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

          0 Check if this claim is for a community            0 Student loans
          debt                                                0 Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                     report as priority claims
          • No                                                0 Debts to pension or profit-sharing plans, and other similar debts
          0 Yes                                               I Other. Specify Credit Card


          Chase Card Services                                 Last 4 digits of account number       9155                                            $17,555.00
          Nonpriority Creditor’s Name
          Attn: Bankruptcy                                                                          Opened 09/02 Last Active
          Po Box 15298                                        When was the debt incurred?           02/23
          Wilmington, DE 19850
          Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
          • Debtor 1 only                                     0 Contingent
          O Debtor 2 only                                     0 Unhiquidated
          O Debtor 1 and Debtor 2 only                        0 Disputed
          O At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

          O Check if this claim is for a community            0 Student loans
          debt                                                0 Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                     report as priority claims
          • No                                                O Debts to pension or profit-sharing plans, and other similar debts
          0 Yes                                               • Other. Specify     Credit Card




Official Form 106 E/F                               Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 3 of 5
             Case 2:23-bk-10990-SK                       Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                          Desc
                                                         Main Document    Page 28 of 57
  Debtor 1     Leslie Klein                                                    Case number (if known)                                2:23-bk-10990-SK

             Chase Card Services                                Last 4 digits of account number       2050                                              $15.112.00
             Nonpriority Creditors Name
           Attn: Bankruptcy                                                                           Opened 01/89 Last Active
           P.O. 15298                                          When was the debt incurred?            1/22/23
           Wilmington, DE 19850
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
             • Debtor 1 only                                   O Contingent
           D Debtor 2 only                                     O Unhiquidated
           D Debtor 1 and Debtor 2 Only                        0 Disputed
               At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

           D Check if this claim is for a community            O Student loans
           debt                                                0 Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims
           • No                                                0 Debts to pension or profit-sharing plans, and other similar debts
           O Yes                                               B Other. Specity Credit Card

           Citibank                                            Last 4 digits of account number       3837                                               $1 .281.00
           Nonpriority Creditors Name
           Attri: Bankruptcy                                                                         Opened 11/90 Last Active
           P.O. Box 790034                                     When was the debt incurred?           8/12/22
           St Louis, MO 63179
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one
           • Debtor 1 only                                     0 Contingent
           O Debtor 2 Only                                     0 Unliquidated
           0 Debtor 1 and Debtor 2 only                        0 Disputed
           0 At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

           0 Check if this claim is for a community            0 Student loans
           debt                                                0 Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims
           • No                                                0 Debts to pension or profit-sharing plans, and other similar debts
           0 Yes                                               • Other. Specity     Credit Card


           Franklin H. Menlo Irrevocable Trust                 Last 4 digits of account number       6769                                               Unknown
          Nonpriority Creditors Name
          c/o Wilikie Farr & Gallagher LLP                     When was the debt incurred?           2012
          Attn: Alex M. Weingarten, Esq.
          2029 Century Park East, Suite 3400
          Los Angeles, CA 90067
          Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
          0 Debtor 1 only                                      • Contingent

          0 Debtor 2 only                                      B Unliquidated
          0 Debtor 1 and Debtor 2 Only                        B Disputed
          B At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

          0 Check if this claim is for a community            0 Student loans
          debt                                                0 Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                     report as priority claims
          • No                                                0 Debts to pension or profit-sharing plans, and other similar debts
                                                                                    pending litigation (consolidated and related
          0 Yes                                               • Other, Specify
                                                                                    to 24 other cases)




Official Form 106 ElF                               Schedule ElF: Creditors Who Have Unsecured Claims                                                    Page 4 of 5
            Case 2:23-bk-10990-SK                          Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                                  Desc
                                                           Main Document    Page 29 of 57
 Debtor 1     Leslie Klein                                                                               Case number (if known)         2:23-bk-I 0990-S K


          Jeffrey Siegel, Successor Trustee                        Last 4 digits of account number         2432                                                 Unknown
            Nonpriority Creditors Name
          of the Hubert Scott Trust                                When was the debt incurred?             2017
          do Oldman, Cooley, Sallus
          16133 Ventura Blvd., Penthouse
          Suit
          Encino, CA 91436-2408
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    I Contingent
            • Debtor 1 Only
                                                                    • Unhiquidated
            G Debtor 2 Only
               Debtor 1 and Debtor 2 only                          • Disputed
                                                                   Type of NONPRIORITY unsecured claim:
               At least one of the debtors and another
          11 Check if this claim is for a community                C Student loans
          debt                                                     C Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

            I No                                                    C Debts to pension or profit-sharing plans, and other similar debts
            C Yes                                                   I Other. Specify pending litigation

ITi List Others to Be Notified About a Debt That You Already Listed
                                                                                                                                     or 2. For example, if a collection agency
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts I
                                                                                                                                               agency here. Similarly, if you
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts I or 2, then list the collection
                                                                                                                                             have additional persons to be
   have more than one creditor for any of the debts that you listed in Parts I or 2, list the additional creditors here. If you do not
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Oldman, Cooley, and Sallus                                 Line 4.10 of (Check one):                C Part 1 Creditors with Priority Unsecured Claims
 16133 Ventura Blvd., Penthouse Suit                                                                    I Part 2: Creditors with Nonpriority Unsecured Claims
 Encino, CA 91436-2408
                                                              Last 4 digits of account number


1fl           Add the Amounts for Each Type of Unsecured Claim
                                                                                                                                  §159. Add            the amounts for each
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C.
   type of unsecured claim.
                                                                                                                                 Total Claim
                        fla   Domestic support obligations                                                  8a.      $                          0.00
Total
claims
from Part I             6b.   Taxes and certain other debts you owe the government                          6b.      $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.      $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.      $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                         0.00

                                                                                                                                 Total Claim
                        6f.   Student loans                                                                 6f.      $                          0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that                                                0.00
                                                                                                            6g.       $
                              you did not report as priority claims
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h        $                        0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                                                                                                                     $                    97,928.00
                              here.

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                   97,928.00




                                                       Schedule ElF: Creditors Who Have Unsecured Claims                                                           Page 5 of 5
Official Form 106 ElF
              Case 2:23-bk-10990-SK                          Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                              Desc
                                                             Main Document    Page 30 of 57
  Fill in this information to identify your case:
  Debtor 1                Leslie Klein
                          First Name                        Middle Name          Last Name

 Debtor 2
 (Spouse it, filing)      First Name                        Middle Name          Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           2:23-bk-I 0990-5K
 (if known)                                                                                                                     Q Check if this is an
                                                                                                                                  amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12115
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       U Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease              State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      Chase Doe                                                               Month to month residential lease agreement wtih the
              143 S. Highland Drive                                                   Debtor for 143 S. Highland Drive, Los Angeles rental
              Los Angeles, CA 90036                                                   property. Debtor collects $4,000 rental income per
                                                                                      month.

     2.2      Jacob Rum mitz                                                          Month to month residential lease agreement wtih the
              315 N. Martel Avenue                                                    Debtor for 315 N. Martel Avenue, Los Angeles rental
              Los Angeles, CA 90036                                                   property. Debtor collects $5,500 rental income per
                                                                                      month.

     2.3      Sandra Layton                                                           Month to month residential lease agreement wtih the
              161 N. Poinsettia Place                                                 Debtor for 161 N. Poinsettia Place rental property. Debtor
              Los Angeles, CA 90036                                                   collects $3,000 rental income per month.




Official Form 1060                              Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
                                                                                                                     ____




              Case 2:23-bk-10990-SK                             Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                           Desc
                                                                Main Document    Page 31 of 57
 Fill in this information to identify your case:

 Debtor 1                   Leslie Klein
                            First Name                          Middle Name          Last Name

 Debtor 2
(Spouse it, filing)         First Name                          Middle Name          Last Name


 United States Bankruptcy Court for the:                 CENTRAL DISTRICT OF CALIFORNIA

 Case number           2:23-bk-I 0990-SK
 (if known)                                                                                                                        Check if this is an
                                                                                                                                   amended filing


Official Form 106H
Schedule H:_Your Codebtors                                                                                                                          12115


Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      DNo
      • Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      D No. Go to line 3.
      • Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                No
                • Yes.


                       In which community state or territory did you live?           -NON E           Fill in the name and current address of that person.


                       Name of your spouse, former spouse, or legal equivalent
                       Number, Street. City, State & Zip Code


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is tiling with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule ElF (Official Form IO6E1F), or Schedule G (Official Form 106G). Use Schedule D, Schedule ElF, or Schedule G to fiji
      out Column 2.

               Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:


    3.1        Leslie Klein & Associates, Inc.                                                       D Schedule D, line
               do Parker Milliken                                                                    I Schedule ElF, line   4.10
               555 Flower Street                                                                        Schedule G
               Los Angeles, CA 90071                                                                 Franklin H. Menlo Irrevocable Trust




Official Form 106H                                                               Schedule H: Your Codebtors                                     Page 1 of 1
                               ___________________________________________________________
 _____________________________________________________________________________________
                                                                                                        ________________
                                                                                                        _______________            _________________
                                                                                                                                     ______________




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  Fill in this information to identify your case:

  Debtor 1                      Leslie Klein

  Debtor 2
 (Spouse, if filing)

  United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

 Case number               2:23-bk-I o990-SK                                                               Check if this is:
 (If known)                                                                                                D An amended filing
                                                                                                           D A supplement showing postpetition chapter
                                                                                                               13 income as of the following date:

 Official Form 1061                                                                                            MM/DD/YYYY

 Schedule I: Your Income                                                                                                                                  12115
Be as complete and accurate as possible. If two married people are filing together (Debtor I and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1:               Describe Employment
        Fill in your employment
        information.                                                Debtor I                                      Debtor 2 or non-filing spouse

        If you have more than one job,                              • Employed                                       Employed
        attach a separate page with            Employment status
                                                                          Not employed                            • Not employed
        information about additional
        employers.
                                               Occupation           Attorney
        Include part-time, seasonal, or
        self-employed work.                    Employer’s name      Leslie Klein & Associates, Inc.

        Occupation may include student         Employer’s address
                                                                    14245 Ventura Blvd., #301
        or homemaker, if it applies.
                                                                    Sherman Oaks, CA 91423

                                               How long employed there?         50 years

 Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below, If you need
more space, attach a separate sheet to this form.

                                                                                                         For Debtor I          For Debtor 2 or
                                                                                                                               non-filinq spouse

       List monthly gross wages, salary, and commissions (before all payroll
 2.    deductions). If not paid monthly, calculate what the monthly wage would be,          2.      $               0.00       $               0.00

 3.     Estimate and list monthly overtime pay.                                             3.   +$                 0.00                       0.00

 4.    Calculate gross Income. Add line 2 + line 3.                                         4,      $            0.00              $        0.00




Official Form 1061                                                        Schedule I: Your Income                                                      page 1
                                          ___________
                         ______________________        ___________
                                                ___________             __
                                                                   ___________
                                                            ___________        ___                       ________
                                                                                                          ________
                                                                                                          ________
                                                                                                          ________
                                                                                                          ________
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                                                                                                          ________
                                                                                                          ________
                                                                                                        __________




             Case 2:23-bk-10990-SK                  Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                                   Desc
                                                    Main Document    Page 33 of 57

 Debtor 1    Leslie Klein                                                                               Case number (if known)       2:23-bk-10990-SK


                                                                                                            For Debtor I                 For Debtor 2 or
                                                                                                                                         non-filing spouse
       Copy line 4 here                                                                       4.            $               0.00         $             0.00

 5     List all payroll deductions:
       5a.    Tax, Medicare, and Social Security deductions                                   5a.           $               0.00         $                0.00
       5b.    Mandatory contributions for retirement plans                                    5b.           $               0.00         $                0.00
       5c.    Voluntary contributions for retirement plans                                    5c.           $               0.00         $                0.00
       5d.    Required repayments of retirement fund loans                                    5d.           $               0.00         $                0.00
       5e.    Insurance                                                                       5e.           $               0.00         $                0.00
       5f.    Domestic    support    obligations
                                                                                              5f.           $               0.00         $                0.00
       5g.    Union dues                                                                      5g.   $                       0.00   $                      0.00
       5h.    Other deductions. Specify:                                                     • 5h.+ $                       0.00 + $                      0.00
6.     Add the payroll deductions. Add lines 5a+5b+5c-I-5d+5e+5f-f5g+5h.                      6.         $                  0.00         $                0.00
7.     Calculate total monthly take-home pay. Subtract line 6 from line 4.                    7.         $                  0.00         $                0.00
8.     List all other income regularly received:
       8a.    Net income from rental property and from operating a business,
              profession, or farm
              Attach a statement for each property and business showing gross
              receipts, ordinary and necessary business expenses, and the total
              monthly net income.                                                             8a.           $        1,800.00            $                0.00
       8b.    Interest   and   dividends
                                                                                              8b.           $            0.00            $                0.00
       8c.    Family support payments that you, a non-filing spouse, or a dependent
              regularly receive
              Include alimony, spousal support, child support, maintenance, divorce
              settlement, and property settlement.                                            8c.           $               0.00         $                0.00
       8d.    Unemploym
                                compensation
                               ent
                                                                                              8d.           $               0.00         $                0.00
       8e.    Social Security                                                                 8e.           $        3,333.00            $                0.00
       8f.    Other government assistance that you regularly receive
              Include cash assistance and the value (if known) of any non-cash assistance
              that you receive, such as food stamps (benefits under the Supplemental
              Nutrition Assistance Program) or housing subsidies.
              Specify:                                                                        8f.           $               0.00         $                0.00
       8g.    Pension or retirement income                                                    8g.           $               0.00         $                0.00
                                                   Rental Income from Martel
       8h.    Other monthly income. Specify: Property                                         8h.+ $                 5,500.00        +   $                0.00
              Rental Income from Highland Property                                                 $                 4,000.00            $                0.00
              Rental Income from Poinsettia Property                                               $                 3,000.00            $                0.00

9.     Add all other income. Add lines 8a÷8b+8c+8d+8e+8f+8g+8h.                               9.        $           17,633.00            $                    0.00


 10.   Calculate monthly income. Add line 7 + line 9.                                       10.     $           17,633.00    +   $            0.00        $      17,633.00
       Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
       other friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
       Specify:                                                                                                                  11. +$                                 0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it                       12.              17,633.00
     applies
                                                                                                                                                      $
                                                                                                                                                      Combined
                                                                                                                                                      monthly income
13.    Do you expect an increase or decrease within the year after you file this form?
             No.
       •     Yes. Explain:   Debtor intends to sell one or more of his assets to be able to make the payments to his creditors
                            and to successfully reorganize.




Official Form 1061                                                        Schedule I: Your Income                                                                    page 2
                         ____________________________________________________________
                                                                                    ___________
                                                                                    ___________
                                                                                                _________
                                                                                                _________




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 Fill in this information to identify your case:

 Debtor 1                 Leslie Klein                                                                        Check if this is:
                                                                                                                  An amended filing
 Debtor 2                                                                                                         A supplement showing postpetition chapter
 (Spouse, if filing)                                                                                              13 expenses as of the following date:

 United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                              MM I DD / YYYY

 Case number           2:23-bk-I 0990-SK
 (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                 12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. It more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.

I1            Describe Your Household
 1     Is this a joint case?
       • No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                 lNo
                   Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2.    Do you have dependents?             • No
       Do not list Debtor 1 and              Yes.   Fill out this information for    Dependent’s relationship to          Dependent’s    Does dependent
                                                    each dependent                   Debtor I or Debtor 2                 age            live with you?
       Debtor 2.

       Do not state the                                                                                                                  D No
       dependents names.                                                                                                                 Q Yes
                                                                                                                                         D No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                         D No
                                                                                                                                         D Yes
 3.    Do your expenses include                   • No
       expenses of people other than
       yourself and your dependents?                Yes

IU1’        Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed, If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.

 Include expenses paid for with non-cash government assistance if you know
 the value of such assistance and have included it on Schedule I: Your Income
 (Official Form 1061.)                                                                                                        Your expenses


 4.    The rental or home ownership expenses for your residence. Include first mortgage
       payments and any rent for the ground or lot.                                                           4    $                              0.00

       If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                          1,250.00
      4b.   Property, homeowner’s, or renter’s insurance                                                    4b.    $                            333.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                            350.00
      4d.   Homeowner’s association or condominium dues                                                     4d.    $                              0.00
 5.   Additional mortgage payments for your residence, such as home equity loans                             5.    $                              0.00




Official Form 1 06J                                                   Schedule J: Your Expenses                                                           page 1
                                       ___________
                                ___________        ___________
                                            ___________              ___ _________
                                                               ___________
                                                        ___________

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Debtor 1      Leslie Klein                                                                             Case number (if known)       2:23-bk-I 0990-SK

6.     Utilities:
       6a.     Electricity, heat, natural gas                                                                6a.    $                            1,800.00
       6b.    Water, sewer, garbage collection                                                               6b.    $                                0.00
       6c.    Telephone, cell phone, Internet, satellite, and cable services                                 6c.    $                              200.00
       6d.    Other. Specify:                                                                                6d.    $                                0.00
7.     Food and housekeeping supplies                                                                         7.    $                            2,000.00
8.     Childcare and children’s education costs                                                               8.    $                                0.00
9.     Clothing, laundry, and dry cleaning                                                                    9.    $                              100.00
10.    Personal care products and services                                                                   10.    $                              100.00
11.    Medical and dental expenses                                                                           11.    $                              200.00
12.    Transportation, Include gas, maintenance, bus or train fare.                                                                                400.00
                                                                                                              12. $
       Do not include car payments.
 13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                     13. $                                150.00
 14.   Charitable contributions and religious donations                                                       14. $                                  0.00
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                  15a.    $                                0.00
       15b. Health insurance                                                                                15b.    $                                0.00
       15c. Vehicle insurance                                                                               15c.    $                              500.00
       15d. Other insurance. Specify                                                                        15d.    $                                0.00
 16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                               16. $                                   0.00
 17.   Installment or lease payments:
       1 7a. Car payments for Vehicle 1                                                                     1 7a.   $                           1,319.00
       1 7b. Car payments for Vehicle 2                                                                     1 7b.   $                             500.00
       17c. Other. Specify:        Mortgage for Martel Rental                                               17c.    $                          10,854.00
       17d. Other. Specify: Mortgage for Highland Rental                                                    17d.    $                          10,729.00
              Mortgage for Poinsettia Rental                                                                        $                          10,215.00
              Mortgage for Whitewater Club Drive Property                                                           $                             433.00
              Property Tax for Whitewater Club Drive Property                                                       $                             100.00
              Mortgage for Ocean Drive Property                                                                     $                           8,813.00
              Leonardo Plaza Hotel Maintenance Expenses                                                             $                           2,500.00
18. Your payments of alimony, maintenance, and support that you did not report as                                                                     0.00
                                                                                           18. $
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061).
19. Other  payments   you  make to support others who do not  live with you.                   $                                                      0.00
    Specify:                                                                               19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule!: Your Income.
    20a. Mortgages on other property                                                     20a. $                                                       0.00
    20b. Real  estate  taxes                                                             2Db. $                                                       0.00
    20c. Property, homeowner’s, or renter’s insurance                                    2Cc. $                                                       0.00
    20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
    20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
21. Other: Specify:                                                                        21. +$                                                     0.00

22.    Calculate your monthly expenses
       22a. Add lines 4 through 21.                                                                                     $                    52,846.00
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
       22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                    52,846.00

23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                              17,633.00
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                             52,846.00

       23c.   Subtract your monthly expenses from your monthly income.                                                                         -35,213.00
                                                                                                             23c. $
              The result is your monthly net income.

24.    Do you expect an increase or decrease in your expenses within the year after you file this form?
       For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
       mod ficatiori to the terms of your mortgage?
       LN0.
       U Yes.                 Explain here: Debtor intends to sell one or more of his assets to be able to make the payments to his
                           creditors and to successfully reorQanize.




Official Form 1 06J                                                  Schedule J: Your Expenses                                                                     page 2
                                                                                                          ___
                                                                                        ___________
                                        ____
                         ___________




            Case 2:23-bk-10990-SK                     Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                  Desc
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   Fill in this information to identify YOLI( case:
   Debtor I                Leeli. Klein
                           Firal Name                 Mimi. N.m.            Last mama

   Debtor 2
   (Spouse it. rrmg)       First Name                 MIddte Name           Lait Name

  United States Bankruptcy Court for the:      CENTRAL D(STR (CT OF CALIFORNIA

  Case number          2:23-bk-I 0990-SK
  if known)                                                                                                               D Check If this is art
                                                                                                                              amended filing



 Official Form lO6Dec
 Declaration About an Individual Debtor’s Schedules                                                                                                12115


 if two married people are filing together, both are equally responsible for supplying correct information.

 You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
 obtaining money or property by fraud In connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
 years, or both. 18 U.S.C. § 152, 1341, 1619, and 3571.



                FeIo!
        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        I      No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparers Notice,
        D                                                                                              Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       t:attheyaetadcorect.


              Leslie Klein                                                     Signature of Debtor 2
              Signature of Debtor 1

              Date
                         3/    / ‘2-        .— 3                               Date




Official Form lO6Dec                              Declaration About an Individual Debtors Schedules
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                                                         Main Document    Page 37 of 57



 Fill in this information to identify your case:

 Debtor 1                  Leslie Klein
                           First Name                   Middle Name                   Last Name

 Debtor 2
 (Spouse if. tiling)      First Name                    Middte Name                   Last Name


 United States Bankruptcy Court for the:          CENTRAL DISTRICT OF CALIFORNIA

 Case number           2:23-bk-I 0990-SK
 (if known)                                                                                                                              Check if this is an
                                                                                                                                         amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04122

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

                 Give Details About Your Marital Status and Where You Lived Before

I.     What is your current marital status?

       I       Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

       I       No
       D       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                           Dates Debtor I               Debtor 2 Prior Address:                             Dates Debtor 2
                                                            lived there                                                                      lived there

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

       DN0
       I       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 1 06H).

                 Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
       I      Yes. Fill in the details.

                                                Debtor I                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income             Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                                exclusions)                                                  and exclusions)

From January 1 of current year until              Wages, commissions,                         $4,000.00          Wages, commissions,
the date you filed for bankruptcy:              bonuses, tips                                                  bonuses, tips

                                                • Operating a business                                            Operating a business




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
            Case 2:23-bk-10990-SK                     Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                      Desc
                                                      Main Document    Page 38 of 57
 Debtor 1      Leslie Klein                                                                          Case number(f known)      2:23-bk-10990-SK


                                              Debtor I                                                       Debtor 2
                                              Sources of income               Gross income                   Sources of income           Gross income
                                              Check all that apply.           (before deductions and         Check all that apply.       (before deductions
                                                                              exclusions)                                                and exclusions)

 For last calendar year:                      C Wages, commissions,                       $24,000.00         C Wages, commissions,
 (January Ito December 31,2022)               bonuses, tips                                                  bonuses, tips

                                              • Operating a business                                         C Operating a business

 For the calendar year before that:           C Wages, commissions,                       $24,000.00         C Wages, commissions,
 (January 1 to December 31, 2021 )            bonuses, tips                                                  bonuses, tips

                                              • Operating a business                                         C Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4,

      CNo
      I     Yes. Fill in the details.

                                             Debtor I                                                        Debtor 2
                                             Sources of income                Gross income from              Sources of income          Gross income
                                             Describe below,                  each source                    Describe below.            (before deductions
                                                                              (before deductions and                                    and exclusions)
                                                                              exclusions)
 From January 1 of current year until        Social Security                               $6,666.00
 the date you filed for bankruptcy:

                                             Rental Income                                $25,000.00

 For last calendar year:                     Social Security                              $40,000.00
 (January I to December 31, 2022)

                                             Rental Income                              $144,000.00

 For the calendar year before that:          Social Security                              $40,000.00
 (January 1 to December 31, 2021

                                             Rental Income                              $144,000.00


IThI’ List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor l’s or Debtor 2’s debts primarily consumer debts?
      • No. Neither Debtor I nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as incurred by an
                 individual primarily for a personal, family, or household purpose.”
                                                                                                            $7,575* or more?
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of
                     • No.      Go to line 7.
                     C Yes List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    *
                      Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 2
                 Case 2:23-bk-10990-SK                     Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                                         Desc
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      Debtor 1        Leslie Klein                                                                         Case number (if known)   2:23-bk-I 0990-SK




          D       Yes.   Debtor I or Debtor 2 or both have primarily consumer debts.
                         During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                               No.     Go to line 7.
                          0 Yes        List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                       include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                       attorney for this bankruptcy case.


          Creditor’s Name and Address                          Dates of payment              Total amount         Amount you        Was this payment for
                                                                                                     paid           still owe

 7.      Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
         Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
         of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
         a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
         alimony.

         •       No
         0       Yes. List all payments to an insider.
          Insiders Name and Address                            Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                    paid            still owe

 8:      Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
         insider?
         Include payments on debts guaranteed or cosigned by an insider.

         •       No
         0       Yes. List all payments to an insider
          Insider’s Name and Address                          Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                    paid            still owe       Include creditors name

                  Identify Legal Actions, Repossessions, and Foreclosures

 9.      Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
         List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
         modifications, and contract disputes.

         ONo
         •       Yes. Fill in the details.
         Case title                                           Nature of the case           Court or agency                          Status of the case
         Case number
         In re Matter of the Franklin Henry                   Trust                        Superior Court of California             • Pending
         Menlo Irrevocable Trust, et al. V.                                                III Hill St.                             0 On appeal
         Leslie Klein                                                                      Los Angeles, CA 90012
                                                                                                                                      Concluded
         BP136769

         The Scott Trust DTD 12/2411992              -        Trust                        Superior Court of California             I Pending
         Trust                                                                             III Hill St.                             0 On appeal
         BPI 72432                                                                         Los Angeles, CA 90012
                                                                                                                                      Concluded


         Joseph Vago, Et Al vs. Leslie Klein                  Fraud                        Superior Court of California             0 Pending
         20STCV25050                                                                       III Hill St                              • On appeal
                                                                                           Los Angeles, CA 90012
                                                                                                                                    0 Concluded




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3
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 10.   Within 1 year before YOU filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
       Check all that apply and fill in the details below.

        •     No.Gotolinell.
        LJ    Yes. Fill in the information below.
        Creditor Name and Address                            Describe the Property                                    Date                    Value of the
                                                                                                                                                 property
                                                             Explain what happened

 11.   Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
       accounts or refuse to make a payment because you owed a debt?
       I      No
              Yes. Fill in the details.
        Creditor Name and Address                            Describe the action the creditor took                   Date action was                Amount
                                                                                                                     taken

 12.   Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
       court-appointed receiver, a custodian, or another official?
       •      No
       D     Yes

I1iI.          List Certain Gifts and Contributions

13.    Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
       I     No
       D     Yes. Fill in the details for each gift.
        Gifts with a total value of more than $600                 Describe the gifts                                Dates you gave                   Value
        per person                                                                                                   the gifts

        Person to Whom You Gave the Gift and
        Address:

14.    Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
       •     No
       J     Yes, Fill in the details for each gift or contribution.
        Gifts or contributions to charities that total            Describe what you contributed                      Dates you                        Value
        more than $600                                                                                               contributed
        Charity’s Name
       Address (Number, Street, City, State and ZIP code)

ITi4 List Certain Losses

15.    Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
       or gambling?

       •     No
       Ei    Yes. Fill in the details.
       Describe the property you lost and               Describe any insurance coverage for the loss                 Date of your        Value of property
       how the loss occurred                            Include the amount that insurance has paid. List pending     loss                             lost
                                                        insurance claims on line 33 of Schedule A/B: Property.

ITt List Certain Payments or Transfers

16.    Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
       consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       D     No
       •     Yes. Fill in the details.
        Person Who Was Paid                           Description and value of any property                          Date payment                 Amount of
        Address                                       transferred                                                    or transfer was               payment
        Email or website address                                                                                     made
        Person Who Made the Payment, if Not You
Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 4
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           Person Who Was Paid                                        Description and value of any property                  Date payment                 Amount of
           Address                                                    transferred                                            or transfer was               payment
           Email or website address                                                                                          made
           Person Who Made the Payment, if Not You
           Law Offices of Michael Jay Berger                          Attorney Fees                                          211512023 +                 $21,738.00
           9454 Wilshire Boulevard, 6th floor                                                                                the filing fee
           Beverly Hills, CA 90212
           michael.bergerbankruptcypower.com



 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

        •No
          Yes. Fill in the details.
        Person Who Was Paid                                          Description and value of any property                   Date payment                Amount of
        Address                                                      transferred                                             or transfer was              payment
                                                                                                                             made

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
     include gifts and transfers that you have already listed on this statement.
     • No
          Yes. Fill in the details.
        Person Who Received Transfer                                 Description and value of                   Describe any property or       Date transfer was
        Address                                                      property transferred                       payments received or debts     made
                                                                                                                paid in exchange
        Person’s relationship to you

 19.   Within 10 years before you filed for bankruptcy, did you transfer any property to a self-seftled trust or similar device of which you are a
       beneficiary? (These are often called asset-protection devices.)
       •No
       D Yes. Fill in the details.
        Name of trust                                                Description and value of the property transferred                         Date Transfer was
                                                                                                                                               made

1F1iI:         List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.    Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
       sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.
       • No
       D Yes. Fill in the details.
       Name of Financial Institution and                       Last 4 digits of           Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP            account number             instrument                   closed, sold,            before closing or
       code)                                                                                                           moved, or                         transfer
                                                                                                                       transferred

21.    Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
       cash, or other valuables?

       •     No
             Yes. Fill in the details.
       Name of Financial Institution                                Who else had access to it?             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                               have it?
                                                                    State and ZIP Code)




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 22.    Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

        •No
        D Yes. Fill in the details.
         Name of Storage Facility                                  Who else has or had access                 Describe the contents                Do you still
         Address (Number, Street, City State and ZIP Code)         to it?                                                                          have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

 ITII          Identify Property You Hold or Control for Someone Else

 23.    Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
        for someone.

        •     No
        D     Yes. Fill in the details.
        Owner’s Name                                               Where is the property?                    Describe the property                            Value
        Address (Number, Street, CIty, State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                   Code)

 IThL’ Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:

 •     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
       toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
       regulations controlling the cleanup of these substances, wastes, or material.
 •     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
       to own, operate, or utilize it, including disposal sites.
 •     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
       hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24.   Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

       •No
       D Yes. Fill in the details.
        Name of site                                              Governmental unit                              Environmental law, if you        Date of notice
        Address (Number, Street, City, State and ZIP Code)        Address (Number, Street, City, State and       know it
                                                                  ZIP Code)

25.    Have you notified any governmental unit of any release of hazardous material?

       •    No
       D    Yes. Fill in the details.
        Name of site                                              Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                  ZIP Code)

26.    Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

       •No
            Yes. Fill in the details.
       Case Title                                                 Court or agency                            Nature of the case                   Status of the
       Case Number                                                Name                                                                            case
                                                                  Address (Number, Street, City,
                                                                  State and ZIP Code)

I1ThI Give Details About Your Business or Connections to Any Business

27.    Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            D A sole proprietor or Self-employed in a trade, profession, or other activity, either full-time or part-time
            D A member of a limited liability company (LLC) or limited liability partnership (LLP)
Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 6
                                                                                                                        _
                                                                                                  ___________
                                                                            ___________

                            _____.




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               D A partner In a partnership
               C An officer, director, or managing executive of a corporation
               C An owner of at least 5% of the voting or equity securities of a corporation
        C No. None of the above applies. Go to Part 12.
        I Yes. Check all that apply above and fill In the details below for each business.
         Business Name                                       Describe the nature of the business             Employer identification number
         Address                                                                                             Do not Include Social Security number or iTlN.
         (Number, Sbeet. CUf, 8tti and ZIP Cod.)             Name of accountant or bookkeeper
                                                                                                             Dates business existed

         Bay Area Development, Co.                           real estate holdIng company                     EIN:       XX-XXXXXXX
         14245 Ventura Blvd                                                                                  From-To
         Sherman Oaks, CA 91423

        Life Capital Group, LLC                              investment company                              EIN:
        7223 Beverly Blvd., Suite 205                                                                        From-To
        Los Angeles, CA 90036

                                                                                                                       Include all financial
 28. Within 2 years before you flied for bankruptcy, did you give a financial statement to anyone about your business?
     institutions, creditors, or other parties.

        I      No
        C Yes. Fill in the details below.
        Name                                                Date Issued
        Address
        (Number, Stre. City, Stat. sndZW Cod.)

 IJ(Tfr Sign Below
                                                                                                         penalty of perjury that the answers
 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under     property by fraud In connection
 are true and correct I understand that making a false statement, concealing property, or obtaining money or
 with a bankruptcy case can resuit In fines up to $250,000, or Imprisonment for up to 20 years, or both.
 18 U.S.C. §$ 152, 1341, 1519, and 3571.


  Leslie Klein                                                       Signature of Debtor 2
  Signature of Debtor I

 Date                  /   9/L_z2.L_.)                               Data
                                                                                                                                     Form 107)7
DId you attach additional pages to Your Statement of Financial Affairs for IndivIduals Filing for Bankruptcy (Official
 I No
O Yes
DILl you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
I No
C Yes. Name of Person          Attach the Bankruptcy Petition Preparers Notice, Declaration, and Signature (Official Form 119).




                                                   Statement of Financial Affairs for Individuals FWng for Bankruptcy                                    page 7
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 Notice Required by 11 U.S.C. § 342(b) for
 Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $78      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $338      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7     -   Liquidation                                                     be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11        -   Reorganization                                              repossess an automobile.

        Chapter 12 Voluntary repayment plan
                          -
                                                                                          However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 Voluntary repayment plan
                          -




                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 1 22A—1) if you are an                                     as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A—2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $571    administrative fee
 Calculation (Official Form 122A—2). The calculations on                                                        totalfee
                                                                                                      $1,738
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on                                         Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay                                   but is also available to individuals. The provisions of
 unsecured creditors. If                                                                  chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
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        Read These Important Warnings

            Because bankruptcy can have serious long-term financial and legal consequences, including loss of
            your property, you should hire an attorney and carefully consider all of your options before you file.
            Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
            and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
            properly and protect you, your family, your home, and your possessions.

            Although the law allows you to represent yourself in bankruptcy court, you should understand that
            many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
            or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
            following all of the legal requirements.

            You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
            necessary documents.

            Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
            bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
            fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
            20 years, or both. 18 U.S.C. § 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must Ne with the court a plan
 chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200      filing fee                                                     years or 5 years, depending on your income and other
 +                $78      administrative fee                                             factors.
                 $278      total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                 $235      filing fee                                                            debts for fraud or defalcation while acting in a
 +                $78      administrative fee                                                    fiduciary capacity,
                 $313      totalfee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                            together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http:/lwww. uscourts.gov/forms/bankruptcy-forms                                          agency. 11 U.S.C. § 109(h). If you are filing ajoint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
 Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
        If you knowingly and fraudulently conceal assets                                  Internet.
        or make a false oath or statement under penalty
        of perjury—either orally or in writing—in                                         In addition, after filing a bankruptcy case, you generally
        connection with a bankruptcy case, you may be                                     must complete a financial management instructional
        fined, imprisoned, or both.                                                       course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
        All information you supply in connection with a                                   course.
        bankruptcy case is subject to examination by the
        Attorney General acting through the Office of the                                 You can obtain the list of agencies approved to provide
        U.S. Trustee, the Office of the U.S. Attorney, and                                both the briefing and the instructional course from:
        other offices and employees of the U.S.                                           http://www. uscourts.gov/services-forms/bankruptcy/cre
        Department of Justice.                                                            dit-counseling-and-debtor-education-courses.

 Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                          http:/Iwww. uscourts.gov/services-forms/bankruptcy/cre
 The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 u.s.c. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4
                   _____________________________________________________                 ___________________________________________________________________
                                                                                                                             _____________
                                                                                                                             _____________
                                                                                                                             ________________




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 Fill in this information to identify your case:




 Debtor 1              Leslie   Klein




 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:    Central District of California

 Case number       2:23-bk-10990-SK
                                                                                                        Check if this is an amended filing
 (if known)




Official Form 122B
Chapter 11 Statement of Your Current Monthly Income                                                                                                    12121

You must file this form if you are an individual and are filing for bankruptcy under Chapter 11 (other than Subchapter V). If more space is
needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).
 Ti           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.


       D Not married. Fill out Column A, lines 2-11.

       D Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

       • Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.


   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
   case. 11 U.S.C. § 101(1 OA). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
   of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
   income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If
   you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A              Column B
                                                                                                      Debtor I              Debtor 2


  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions),                                                               $                         0.00      $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                                        $                         0.00      $
     Column B is filled in.
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
                                                                                        $                         0.00      $
     filled in. Do not include payments you listed on line 3.
  5.   Net income from operating a
       business,   profession, or farm
                                           Debtor I                Debtor 2
       Gross receipts (before all deductions)               $                 2,000.00
       Ordinary and necessary operating expenses                                200.00
       Net monthly income from a business,                                               Copy
       profession, or farm                                  $                 1,800.00 here-> $              1,800.00       $
  6. Net income from rental and
     other real property                 Debtor I                  Debtor 2
     Gross receipts (before all deductions)                 $                12,500.00
     Ordinary and necessary operating expenses             -$                     0.00
     Net monthly income from rental or other real                                        Copy
       property                                            $                 12,500.00   here->   $         12,500.00       $




Official Form 1 22B                             Chapter II Statement of Your Current Monthly Income                                                 page   1
                __________________________________________________
                ___________
                           ___________
                                                                             ____
                                                                                                 ______




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 Debtor 1     Leslie Klein                                                                           Case number (if known)   2:23-bk-10990-SK

                                                                                                 Column A                     Column B
                                                                                                 Debtor I                     Debtor 2

                                                                                                 $                  0.00      $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                   $                  0.00      $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
            For you                                           $                     0.00
            For your spouse                                   $
  9.   Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act. Also, except as stated in the next sentence, do
       not include any compensation, pension, pay, annuity, or allowance paid by the
       United States Government in connection with a disability, combat-related injury or
       disability, or death of a member of the uniformed services. If you received any retired
       pay paid under chapter 61 of title 10, then include that pay only to the extent that it
       does not exceed the amount of retired pay to which you would otherwise be entitled
                                                                                                 $                  0.00      $
       if retired under any provision of title 10 other than chapter 61 of that title.
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act, payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services, If necessary, list other
      sources on a separate page and put the total below.
                                                                                                 $                            $
                                                                                                 $                  0.00      $
                 Total amounts from separate pages, if any.                                 +    $                  0.00      $

  11. Calculate your total current monthly income.
       Add lines 2 through 10 for each column.
                                                                                        $    14,300.00             +   $                 =   $    14,300.00
       Then add the total for Column A to the total for Column B.




Official Form 122B                               Chapter 11 Statement of Your Current Monthly Income                                                    page 2
 __
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                                                                                            CSfl number (iIkl?QWfl)   223bk-10990$K
  0ebto I   Leslie Klein




  i1          Sign Below

               sn9h         under penalty of                    the information on this statement and in any attachments is true and correct.


              Leslie Klein
              Signature of Debtor 1

        Date 3 /15
              MM/DD /YYYY




                                               Chapter 11 Statement of Your Current Monthly Income                                              page 3
Official Form 122B
                     Case 2:23-bk-10990-SK                 Doc 34 Filed 03/08/23 Entered 03/08/23 20:31:14                          Desc
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  Debtor 1             Leslie Klein                                                           Case number (if known)   2:23-bk-10990-SK


                                                  Current Monthly Income Details for the Debtor

 Debtor Income Details:
 Income for the Period 08101/2022 to 0113112023.

 Line 5          -   Income from operation of a business, profession, or farm
 Source of Income: Leslie Klein & Associates, Inc.
 Income/Expense/Net by Month:
                             Date                                    Income                         Expense                           Net
  6 Months Ago:                    08/2022                                $2,000.00                      $200.00                            $1,800.00
  5 Months Ago:                    09/2022                                $2,000.00                      $200.00                            $1,800.00
  4 Months Ago:                    10I2022                                $2,000.00                      $200.00                            $1,800.00
  3 Months Ago:                    11/2022                                $2,000.00                      $200.00                            $1,800.00
 2 Months Ago:                     12/2022                                $2,000.00                      $200.00                            $1,800.00
  Last Month:                      01/2023                                $2,000.00                      $200.00                            $1,800.00
                        Average per month:                                $2,000.00                      $200.00
                                                                                        Average Monthly NET Income:                         $1,800.00




 Line 6      -       Rent and other real property income
 Source of Income: Rental Income from Highland
 Income/Expense/Net by Month:
                            Date                                     Income                        Expense                            Net
  6 Months Ago:                   08/2022                                  $4,000.00                     $0.00                              $4,000.00
  5 Months Ago:                   09/2022                                  $4,000.00                     $0.00                              $4,000.00
  4 Months Ago:                   10/2022                                  $4,000.00                     $0.00                              $4,000.00
  3 Months Ago:                   1112022                                  $4,000.00                     $0.00                              $4,000.00
  2 Months Ago:                   12/2022                                  $4,000.00                     $0.00                              $4,000.00
  Last Month:                     01/2023                                  $4,000.00                     $0.00                              $4,000.00
                       Average per month:                                  $4,000.00                     $0.00
                                                                                       Average Monthly NET Income:                          $4,000.00



Line 6       -       Rent and other real property income
Source of Income: Rental Income from Martel
Income/Expense/Net by Month:
                           Date                                     Income                         Expense                           Net
 6 Months Ago:                                   08/2022                 $5,500.00                       $0.00                              $5,500.00
 5 Months Ago:                                   09/2022                 $5,500.00                       $0.00                              $5,500.00
 4 Months Ago:                                   10/2022                 $5,500.00                       $0.00                              $5,500.00
 3 Months Ago:                                   1112022                 $5,500.00                       $0.00                              $5,500.00
 2 Months Ago:                                   12/2022                 $5,500.00                       $0.00                              $5,500.00
 Last Month:                                     0112023                 $5,500.00                       $0.00                              $5,500.00
                                      Average per month:                 $5,500.00                       $0.00
                                                                                       Average Monthly NET Income:                         $5,500.00




Official Form 1 22B                                  Chapter 11 Statement of Your Current Monthly Income                                     page 4
                             _______________
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  Debtor 1        Leslie Klein                                                         Case number (if known)   2:23-bk-I 0990-SK
 Line 6      -   Rent and other real property income
 Source of Income: Rental Income from Poinsettia
 Income/Expense/Net by Month:
                            Date                             Income                          Expense                            Net
  6 Months Ago:                   08/2022                         $3,000.00                       $0.00                               $3,000.00
  5 Months Ago:                   09/2022                         $3,000.00                       $0.00                               $3,000.00
  4 Months Ago:                   10/2022                         $3,000.00                       $0.00                               $3,000.00
  3 Months Ago:                   11/2022                         $3,000.00                       $0.00                               $3,000.00
  2 Months Ago:                   1212022                         $3,000.00                       $0.00                               $3,000.00
  Last Month:                     01/2023                         $3,000.00                       $0.00                               $3,000.00
                       Average per month:                         $3,000.00                       $0.00
                                                                                Average Monthly NET Income:           L               $3,000.00



 Non-CMI    Social Security Act Income
                  -



 Source of Income: Social Security Income
 Income by Month:
 6   Months           Ago:         08/2022                     $3,333.00
  5 Months Ago:                    09/2022                     $3,333.00
  4 Months Ago:                    I 0/2022                    $3,333.00
  3 Months Ago:                    I 1/2022                    $3,333.00
  2 Months Ago:                    I 2/2022                    $3,333.00
  Last Month:                      01/2023                     $3,333.00
                       Average per month:                      $3,333.00




Official Form 122B                           Chapter 11 Statement of Your Current Monthly Income                                      page 5
             ________________________                                                       ________________

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                                                                       ONLY
  Attorney or Party Name, Address, Telephone & FAX Nos., FOR COURT USE
  State Bar No. & Email Address
  Michael Jay Berger
  9454 WilshIre Boulevard, 6th floor
  Beverly Hills, CA 90212
  (310) 271-6223 Fax: (310) 271-9805
  California State Bar Number: 100291 CA
  mIchaeI.bergerbankruptcypower.com




  C Debtor(s) appeanng without an attorney
  S Attorney for Debtor

                                                         UNITED STATES BANKRUPTCY COURT
                                                          CENTRAL DISTRICT OF CALIFORNIA

  In re:
                                                                                        CASE NO.: 2:23-bk-10990-SK
                LeslIe Klein
                                                                                        CHAPTER: 11




                                                                                                            VERIFICATION OF MASTER
                                                                                                           MAILING LIST OF CREDITORS’

                                                                                                                         [LBR 1007-1(a)]

                                                                    Debtor(s).

Pursuant to L8R 1007-1 (a), the Debtor, or the Debtor’s attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 4 sheet(s) is complete, correct, and
consistent with the Debtor’s schedules and I/we assume all responsibili for errors         o issons.

 Date:
                                                                                                 igriature of Debtor I

 Date:
                                                                                                   nature of Debtor 2 (joint debto                  ) (if pplicabie)
 Date:                3/Y/?                                                               4AUoAapplicable)




                      This form is optional, It lies been appcoved for use In the United States Bankrupicy Court for the Central I)istrict 01 CalIfornia.
Oecember 2015                                                                                            F 1007-1 .MAILING.LIST.VERIFICATION
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                        Leslie Klein
                        322 N. June Street
                        Los Angeles, CA 90001


                        Michael Jay Berger
                        Law Offices of Michael Jay Berger
                        9454 Wilshire Boulevard, 6th floor
                        Beverly Hills, CA 90212


                    Andor Gestetner
                    c/o Law Offices of Jacob Unger
                    5404 Whitsett Ave Ste. 182
                    Valley Village, CA 91607


                    Bank of America
                    Attn: Bankruptcy
                    4909 Savarese Circle
                    Tampa, FL 33634


                    Barclays Bank Delaware
                    Attn: Bankruptcy
                    Po Box 8801
                    Wilmington, DE 19899


                    California Bank & Trust
                    Po Box 711510
                    Santee, CA 92072


                    CCO Mortgage Corp.
                    Attn: Bankruptcy
                    10561 Telegraph Rd
                    Glen Allen, VA 23059


                    Chase Card Services
                    Attn: Bankruptcy
                    P.O. 15298
                    Wilmington, DE 19850
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                    Chase Card Services
                    Attn: Bankruptcy
                    Po Box 15298
                    Wilmington, DE 19850


                    Chase Doe
                    143 S. Highland Drive
                    Los Angeles, CA 90036


                    Chase Mortgage
                    BK Department
                    Mail Code LA4 5555     700 Kansas Ln
                    Monroe, LA 71203


                    Citibank
                    Attn: Bankruptcy
                    P.O. Box 790034
                    St Louis, MO 63179


                    Ericka and Joseph Vago
                    c/o Brian Procel
                    Procel Law
                    401 Wilshire Blvd., 12th Floor
                    Santa Monica, CA 90401


                    Ericka and Joseph Vago
                    124 N. Highland Ave
                    Sherman Oaks, CA 91423


                    Fay Servicing LLC
                    Attn: Bankruptcy Dept
                    Po Box 809441
                    Chicago, IL 60680


                    Fiore Racobs & Powers
                    c/o Palm Springs Country Club HOA
                    6820 Indiana Ave., Ste 140
                    6820 Indiana Ave., Ste 140
                    Riverside, CA 92506
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                    Franklin H. Menlo Irrevocable Trust
                    c/o Willkie Parr & Gallagher LLP
                    Attn: Alex N. Weingarten, Esq.
                    2029 Century Park East, Suite 3400
                    Los Angeles, CA 90067


                    Gestetner Charitable Remainder Trus
                    c/o Andor Gestetner
                    1425 55th Street
                    Brooklyn, NY 11219


                    Jacob Rummitz
                    315 N. Martel Avenue
                    Los Angeles, CA 90036


                    Jeffrey Siegel, Successor Trustee
                    of the Hubert Scott Trust
                    c/o Oldman, Cooley, Sallus
                    16133 Ventura Blvd., Penthouse Suit
                    Encino, CA 91436—2408


                    Leslie Klein & Associates,       Inc.
                    c/o Parker Milliken
                    555 Plower Street
                    Los Angeles, CA 90071


                    Los Angeles County Tax Collector
                    Bankruptcy Unit
                    P0 Box 54110
                    Los Angeles, CA 90054—0027


                    Mrc/un±ted Wholesale N
                    Attn: Bankruptcy
                    P. 0. Box 619098
                    Dallas, TX 75261


                    Oldman, Cooley, and Sallus
                    16133 Ventura Blvd., Penthouse Suit
                    Encino, CA 91436—2408
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                    Sandra Layton
                    161 N. Poinsettia Place
                    Los Angeles, CA 90036


                    Selene Finance
                    Attn: Bankruptcy
                    Po Box 8619
                    Philadelphia, PA 19101


                    Shelipoint Mortgage Servicing
                    Attn: Bankruptcy
                    P0 Box 10826
                    Greenville, SC 29603


                    Toyota Financial Services
                    Attn: Bankruptcy
                    Po Box 259001
                    Piano, TX 75025
